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 1   ARTURO HERNANDEZ-M, Attorney at Law
     15 South 34th St.
 2   San Jose, CA 95116
     Phone (408)729-5785
 3   Fax    (408) 729-0167
     California Bar No. 108980
 4   Email: artlawoff@aol.com

 5
     Attorney for Defendant Octavio Gallegos Vasquez
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                          NO 1:13-CR-00218-AWI
10                                                          1:03-CR-05066AWI
                                   Plaintiff,           ORDER FOR
11                                                      CONTINUANCE OF SENTENCING
     vs.
12
     OCTAVIO GALLEGOS VASQUEZ,
13
                             Defendant.
14   ___________________________________/
15            FOR GOOD CAUSE SHOWN, as set forth in the parties’ stipulation and after review
16
     of the motion of Arturo Hernandez-M to Continue Sentencing on behalf of his
17
     Client, OCTAVIO GALLEGOS VASQUEZ, said motion is hereby granted.
18
              IT IS SO ORDERED that the sentencing in this matter is continued from May 9, 2016
19
20    at 10:00 a.m. to June 13, 2016 at 10:00 a.m. NO FURTHER CONTINUANCES WILL BE

21   GRANTED.

22
     IT IS SO ORDERED.
23

24   Dated:     May 6, 2016
                                                   SENIOR DISTRICT JUDGE
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